Case 1:18-cv-00823-CFC Document 196 Filed 05/28/20 Page 1 of 2 PageID #: 20423




                                         May 13, 2020


VIA E-FILING
The Honorable Colm F. Connolly
J. Caleb Boggs Federal Building
844 N. King Street
Room 4124; Unit 31
Wilmington, DE 19801-3555

       RE:    Par Pharmaceutical Inc., et al. v. Eagle Pharmaceuticals Inc.
              C.A. No. 18-cv-823-CFC

Dear Judge Connolly:

       During the April 8, 2020 conference to discuss the Covid 19-related postponement of the
scheduled trial in this matter (which had been scheduled to commence on May 18), Eagle
represented
                                               See Transcript of April 8, 2020 teleconference at
7-11. In light of that representation, the Court set a conference for May 18 (this coming
Monday).

       Late Monday, Eagle




       We look forward to discussing this case with the Court on May 18, 2020.


                                                Respectfully submitted,

                                                /s/ Brian E. Farnan

                                                Brian E. Farnan


cc: Counsel of Record (via E-Mail)




   919N. MARKET STREET, 12TH FLOOR, WILMINGTON, DE 19801
PHONE: (302) 777–0300·FAX: (302) 777–0301·WWW.FARNANLAW.COM
       Case 1:18-cv-00823-CFC Document 196 Filed 05/28/20 Page 2 of 2 PageID #: 20424




CONFIDENTIAL                                                                EAGLEVAS0058588
